Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 1 of 27
            Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 2 of 27
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       Plaintiff Manuel Esguerra (“Plaintiff”), by and through his attorneys, alleges the

following upon information and belief, except as to those allegations concerning Plaintiff, which

are alleged upon personal knowledge. Plaintiff’s information and belief is based upon, among

other things, his counsel’s investigation, which includes without limitation: (a) review and

analysis of regulatory filings made by Genworth Financial, Inc. (“Genworth” or the

“Company”), with the United States Securities and Exchange Commission (“SEC”); (b) review

and analysis of press releases and media reports issued by and disseminated by Genworth; and

(c) review of other publicly available information concerning Genworth.

                       NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of purchasers of Genworth securities between

December 4, 2013 and July 29, 2014, inclusive (the “Class Period”), seeking to pursue remedies

under the Securities Exchange Act of 1934 (the “Exchange Act”).

       2.       Genworth operates through three divisions: U.S. Life Insurance, which includes

life insurance, long term care insurance (“LTC”) and fixed annuities; Global Mortgage

Insurance, containing U.S. Mortgage Insurance and International Mortgage Insurance segments;

and the Corporate and Other division, which includes the International Protection and Runoff

segments. Products and services are offered through financial intermediaries, advisors,

independent distributors and sales specialists.

       3.       On July 29, 2014, after the market close, the Company issued a press release

announcing that its LTC insurance division suffered from higher incurred losses due to the

higher severity of new and existing claims. The Company announced that it was conducting a

comprehensive review of the adequacy of its claim reserves.




                                    CLASS ACTION COMPLAINT
                                               1
            Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 3 of 27
       


       4.       On this news, shares of Genworth declined $2.28 per share, over 14%, to close on

July 30, 2014 at $13.98 per share, on unusually heavy volume.

       5.       Throughout the Class Period, Defendants made false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants made false and/or misleading statements

and/or failed to disclose: (1) that the Company’s LTC insurance claims were increasing in

number and size; (2) that the Company would have to increase its reserves to meet these claims;

and (3) that, as a result of the foregoing, the Company’s statements about its business,

operations, and prospects, were materially false and misleading and/or lacked a reasonable basis.

       6.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                                 JURISDICTION AND VENUE

       7.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       8.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       9.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b) and

Section 27 of the Exchange Act (15 U.S.C. §78aa(c)). Substantial acts in furtherance of the

alleged fraud or the effects of the fraud have occurred in this Judicial District. Many of the acts

charged herein, including the preparation and dissemination of materially false and/or misleading

information, occurred in substantial part in this Judicial District.



                                     CLASS ACTION COMPLAINT
                                                2
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 4 of 27
       


       10.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

       11.     Plaintiff Manuel Esguerra, as set forth in the accompanying certification,

incorporated by reference herein, purchased Genworth common stock during the Class Period,

and suffered damages as a result of the federal securities law violations and false and/or

misleading statements and/or material omissions alleged herein.

       12.     Defendant Genworth is a Delaware corporation with its principal executive

offices located at 6620 West Broad Street, Richmond, Virginia 23230.

       13.     Defendant Thomas J. McInerney (“McInerney”) was, at all relevant times, Chief

Executive Officer (“CEO”) and a director of Genworth.

       14.     Defendant Martin P. Klein (“Klein”) was, at all relevant times, Chief Financial

Officer (“CFO”) of Genworth.

       15.     Defendants McInerney and Klein are collectively referred to hereinafter as the

“Individual Defendants.”     The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Genworth’s reports to the

SEC, press releases and presentations to securities analysts, money and portfolio managers and

institutional investors, i.e., the market.   Each defendant was provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,

their issuance and had the ability and opportunity to prevent their issuance or cause them to be

corrected. Because of their positions and access to material non-public information available to



                                   CLASS ACTION COMPLAINT
                                              3
            Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 5 of 27
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them, each of these defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the public, and that the positive representations

which were being made were then materially false and/or misleading.               The Individual

Defendants are liable for the false statements pleaded herein, as those statements were each

“group-published” information, the result of the collective actions of the Individual Defendants.

                                SUBSTANTIVE ALLEGATIONS

                                           Background
        
        16.     Genworth operates through three divisions: U.S. Life Insurance, which includes

life insurance, long term care insurance and fixed annuities; Global Mortgage Insurance,

containing U.S. Mortgage Insurance and International Mortgage Insurance segments; and the

Corporate and Other division, which includes the International Protection and Runoff segments.

Products and services are offered through financial intermediaries, advisors, independent

distributors and sales specialists.

                                Materially False and Misleading
                           Statements Issued During the Class Period

        17.     The Class Period begins on December 4, 2013. On this day, the Company hosted

a conference call with investors and analysts regarding the Company’s long term care insurance

division. During the call, Defendant McInerney, in relevant part, stated:

        […] We have said repeatedly that we believe we have adequate long term care
        reserves with the margin for future deterioration and our presentation today
        provides support for these conclusions.

        As I've told many of you before, when I joined Genworth in January. I would
        focus on understanding the long term care business, because of our results and
        generally poor LTC results for the industry. Indeed, I came to Genworth with
        a view that the long term care insurance business was a challenge business and we
        needed to determine if we should exit the business.



                                      CLASS ACTION COMPLAINT
                                                 4
              Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 6 of 27
          


          However now that we have completed the very intensive, broad, and deep review
          of a long term care insurance business and developed a three-part LTC strategy,
          we have determined that long term care insurance is a business that we believed
          can be managed successfully.

(Emphasis added).

          18.     On February 4, 2014, the Company issued a press release entitled, “Genworth

Financial Announces Fourth Quarter 2013 Results.” Therein, the Company, in relevant part,

stated:

                Net Income Improves 24 Percent From Prior Year To $208 Million
                Continued Progress With Long Term Care Premium Rate Actions
                Strong Loss Performance In Global Mortgage Insurance Division

          Genworth Financial, Inc. (NYSE: GNW) today reported results for the fourth
          quarter of 2013. The company reported net income of $208 million, or $0.41 per
          diluted share, compared with net income of $168 million, or $0.34 per diluted
          share, in the fourth quarter of 2012. Net operating income for the fourth quarter of
          2013 was $193 million, or $0.38 per diluted share, compared with net operating
          income of $161 million, or $0.33 per diluted share, in the fourth quarter of 2012.
          Prior year net income and net operating income included an after-tax favorable
          adjustment of $78 million associated with the reversal of the accrued liability for
          exit fees related to the government guarantee fund in Canada.

          The company reported net income of $560 million, or $1.12 per diluted share, in
          2013, compared with net income of $325 million, or $0.66 per diluted share, in
          2012. The company reported net operating income of $616 million, or $1.24 per
          diluted share, in 2013, compared with net operating income of $403 million, or
          $0.82 per diluted share, in 2012.

          “We made significant progress in 2013 accelerating the turnaround of Genworth,”
          said Tom McInerney, President and CEO. “Our fourth quarter of 2013 results
          were strong and we are particularly pleased with the progress in improving our
          long term care insurance business and with the good operational performance in
          the Global Mortgage Insurance Division.”

                                           *       *      *

          U.S. Life Insurance Division

          Key Points




                                     CLASS ACTION COMPLAINT
                                                5
    Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 7 of 27



U.S. Life Insurance Division net operating income was $119 million, compared
with $111 million in the prior quarter and $73 million a year ago. Net operating
income was $394 million in 2013, compared with $334 million in 2012.

Compared to the prior quarter, sales of life insurance products were higher, lower
in individual long term care insurance (LTC) and modestly lower in fixed
annuities.

The consolidated risk-based capital (RBC) ratio is estimated to be approximately
470 percent, up from approximately 450 percent at the end of the third quarter of
2013.

Ordinary dividends of $100 million were paid to the holding company from the
U.S. Life Insurance Division in the fourth quarter of 2013, including $25 million
from Brookfield Life and Annuity Insurance Company Limited. Ordinary
dividends of $200 million were paid from the U.S. Life Insurance Division to the
holding company as of December 31, 2013.

As of December 31, 2013, LTC in force premium rate increase approvals
represented approximately $195 to $200 million of the expected $250 to $300
million premium increase when fully implemented.

Life Insurance

Life insurance net operating income was $56 million, compared with $54 million
in the prior quarter and $46 million in the prior year. Results in the quarter
included $8 million of favorable items, including a favorable impact from
prepayment speed adjustments on structured securities and a favorable impact
from a refinement to the calculation of incurred but not reported reserves. Results
in the quarter also included favorable taxes of $6 million from a state tax
adjustment. Current quarter mortality experience was favorable versus pricing
expectations and in line with the prior quarter but unfavorable versus the prior
year because of higher claim severity. Prior quarter results included a net benefit
of $17 million from favorable unlocking and other adjustments.

Sales increased modestly versus the prior quarter and were down $14 million
versus the prior year when the company discontinued sales of its term universal
life insurance product because of regulatory changes and began to transition to
new term and universal life insurance product offerings. The company is
continuing to make pricing and product changes that are expected to increase
sales over time.

Long Term Care Insurance

Long term care insurance net operating income was $42 million, compared with
$41 million in the prior quarter and $7 million in the prior year. Results benefitted


                            CLASS ACTION COMPLAINT
                                       6
              Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 8 of 27
          


          from premium increases and reduced benefits of $8 million versus the prior
          quarter and $34 million versus the prior year related to the premium increases
          approved and implemented to date. Current quarter results included a $7 million
          unfavorable reserve adjustment and $7 million of favorable taxes primarily from a
          deferred tax liability correction. Results also included unfavorable claims
          experience versus the prior quarter from lower cancellations of pending claims.
          Prior year results included a $5 million unfavorable refinement to reserves to
          more fully reflect the low interest rate environment. The reported loss ratio for the
          current quarter was approximately 68 percent, four points higher than the prior
          quarter and five points lower than the prior year.

          Individual LTC sales of $24 million were lower than the prior quarter. Sales are
          expected to continue at these levels in the near term due to the cessation of sales
          of AARP branded products in the retail channel and the introduction of higher
          priced products in additional states. The company is investing in distribution and
          marketing to increase LTC sales over time and also announced in the fourth
          quarter that it has started to file for regulatory approval of its Privileged Choice
          Flex 3.0 product. The company expects to launch the new product by the end of
          the first half of 2014.

          As previously announced in the third quarter of 2012, the company filed for LTC
          in force premium rate increases with the goal of achieving approximately $250 to
          $300 million of additional annual premiums when fully implemented by 2017. As
          of December 31, 2013, the company has received approvals from 41 states
          representing approximately $195 to $200 million of the expected premium
          increase.

(Footnotes omitted).

          19.     On March 3, 2014, Genworth filed its Annual Report with the SEC on Form 10-K

for the 2013 fiscal year. The Company’s Form 10-K was signed by Defendants McInerney and

Klein and reaffirmed the Company’s financial results previously announced on February 4, 2014.

          20.     On April 29, 2014, the Company issued a press release entitled, “Genworth

Financial Announces First Quarter 2014 Results.” Therein, the Company, in relevant part,

stated:

                        Net Income Improves 79 Percent From Prior Year
                   Sequentially Higher Mortality In U.S. Life Insurance Division
                 Strong Loss Performance In Global Mortgage Insurance Division




                                      CLASS ACTION COMPLAINT
                                                 7
    Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 9 of 27
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Genworth Financial, Inc. (NYSE: GNW) today reported results for the first
quarter of 2014. The company reported net income1 of $184 million, or $0.37 per
diluted share, compared with net income of $103 million, or $0.21 per diluted
share, in the first quarter of 2013. Net operating income2 for the first quarter of
2014 was $194 million, or $0.39 per diluted share, compared with net operating
income of $151 million, or $0.30 per diluted share, in the first quarter of 2013.
“Genworth’s first quarter 2014 results reflect continued progress in our
turnaround strategy,” said Tom McInerney, President and CEO. “Our mortgage
insurance businesses benefitted from improved loss ratios, and long term care
premium increases continued to positively impact earnings in our U.S. Life
Insurance Division.”

                                  *       *       *

U.S. Life Insurance Division

Key Points

     x   U.S. Life Insurance Division net operating income was $94 million,
         compared with $119 million in the prior quarter and $85 million a year
         ago.

     x   Compared to the prior quarter, sales of life insurance products were
         higher, lower in individual long term care insurance (LTC) and lower in
         fixed annuities.

     x   The consolidated risk-based capital (RBC) ratio is estimated to be
         approximately 480 percent3, compared to 487 percent at the end of the
         fourth quarter of 2013.

     x   As of March 31, 2014, the number of states approved as part of the 2012
         in force premium rate increases remained at 41. The company expects to
         achieve $250 to $300 million of premium increases when fully
         implemented.

     x   In September 2013, the company announced that it began filing for LTC
         premium rate increases on certain Privileged Choice® and Classic Select®
         policies sold between 2003 and 2012. As of March 31, 2014, 11 states
         have approved these rate increases.

Life Insurance

Life insurance net operating income was $21 million, compared with $56 million
in the prior quarter and $36 million in the prior year. Results in the current quarter
reflected unfavorable mortality experience from higher frequency of claims in
both term and universal life insurance versus the prior quarter and from both

                            CLASS ACTION COMPLAINT
                                       8
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 10 of 27
       


       higher frequency in term life insurance and higher severity of claims in universal
       life insurance versus the prior year. Higher mortality drove an increase in claims
       paid and a reduction in product fees partially offset by reduced amortization.
       Results in the prior quarter included $14 million of favorable items.

       Sales increased versus the prior quarter and prior year from increased sales of
       term life insurance. The company is transitioning to a broader set of competitive
       product offerings and sales are expected to increase in 2014 from current levels.

       Long Term Care Insurance

       Long term care insurance net operating income was $46 million, compared with
       $42 million in the prior quarter and $20 million in the prior year. Results
       benefitted from premium increases and reduced benefits of $10 million versus the
       prior quarter and $40 million versus the prior year related to the premium
       increases approved and implemented to date. Current quarter results included a $5
       million favorable correction to investment amortization for preferred stock that
       was more than offset by lower variable investment income versus the prior
       quarter. Results versus the prior year included less favorable claim terminations
       related to mortality and higher reserves related to certain policies with
       survivorship benefits. The reported loss ratio for the current quarter was
       approximately 63 percent, five points lower than the prior quarter and three points
       lower than the prior year.

       Individual LTC sales of $21 million were $3 million lower than the prior quarter.
       The company is continuing to invest in distribution and marketing to increase
       LTC sales over time and expects to begin seeing some impact from these actions
       during the second half of the year. In the fourth quarter of 2013, the company
       announced that it has started to file for regulatory approval of its Privileged
       Choice Flex 3.0 product and expects to launch this product in July 2014.

       21.     On April 30, 2014, Genworth filed its Quarterly Report with the SEC on Form 10-

Q for the 2014 fiscal first quarter. The Company’s Form 10-Q reaffirmed the Company’s

financial results previously announced on April 29, 2014.

       22.     The statements contained in ¶¶ 17-21 were materially false and/or misleading

when made because defendants failed to disclose or indicate the following: (1) that the

Company’s LTC insurance claims were increasing in number and size; (2) that the Company

would have to increase its reserves to meet these claims; and (3) that, as a result of the foregoing,




                                    CLASS ACTION COMPLAINT
                                               9
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 11 of 27
       


the Company’s statements about its business, operations, and prospects, were materially false

and misleading and/or lacked a reasonable basis.

                          Disclosures at the End of the Class Period

       23.     On July 29, 2014, after the market closed, the Company issued a press release

entitled, “Genworth Financial Announces Second Quarter 2014 Results.”              Therein, the

Company, in relevant part, stated:

              Strong Loss Performance In Global Mortgage Insurance Division
                  Adverse Long Term Care Insurance Claims Experience
             $514 Million Net Proceeds From Australia Mortgage Insurance IPO

       Genworth Financial, Inc. (NYSE: GNW) today reported results for the second
       quarter of 2014. The company reported net income of $176 million, or $0.35 per
       diluted share, compared with net income of $141 million, or $0.28 per diluted
       share, in the second quarter of 2013. Net operating income2 for the second quarter
       of 2014 was $158 million, or $0.31 per diluted share, compared with net operating
       income of $133 million, or $0.27 per diluted share, in the second quarter of 2013.
       On May 21, 2014, the company completed the minority initial public offering
       (IPO) of 33.8 percent of its Australia mortgage insurance (MI) business and as a
       result net income attributable to noncontrolling interests in the Australia MI
       business was $11 million in the current quarter. Net income before net income
       attributable to noncontrolling interests in the Australia MI business was $187
       million, or $0.37 per diluted share, in the second quarter of 2014 compared with
       net income available to Genworth’s common stockholders of $141 million, or
       $0.28 per diluted share, in the second quarter of 2013. Net operating income
       before net operating income attributable to noncontrolling interests in the
       Australia MI business for the second quarter of 2014 was $169 million, or $0.34
       per diluted share, compared with net operating income of $133 million, or $0.27
       per diluted share, in the second quarter of 2013.

       “Genworth made continued progress in our turnaround strategy during the quarter
       with the completion of the partial IPO of our Australia MI business,” said Tom
       McInerney, President and CEO. “Our second quarter 2014 results were strong in
       our mortgage insurance businesses, which benefitted from continued solid loss
       performance, but disappointing in our long term care insurance business, where
       we experienced adverse claims development. We continue to pursue state
       approvals for premium rate increases in long term care and recently launched a
       new long term care insurance product in 42 states that balances flexibility for
       customers with appropriate risk-adjusted returns for Genworth.”

                                         *     *      *


                                     CLASS ACTION COMPLAINT
                                                10
    Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 12 of 27
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U.S. Life Insurance Division

Key Points

U.S. Life Insurance Division net operating income was $69 million, compared
with $94 million in the prior quarter and $79 million a year ago.

Compared to the prior quarter, sales of life insurance and individual long term
care insurance (LTC) products were higher but lower in fixed annuities.

The consolidated risk-based capital (RBC) ratio is estimated to be approximately
490 percent, up from 480 percent at the end of the first quarter of 2014.

Company estimate for the second quarter of 2014, due to timing of the filing of
statutory statements.

As of June 30, 2014, 43 states have approved premium rate increases as part of
the 2012 in force premium rate increases. The company continues to expect to
achieve $250 to $300 million of premium increases when fully implemented.

In September 2013, the company announced that it began filing for LTC premium
rate increases on certain Privileged Choice® and Classic Select® policies sold
between 2003 and 2012. As of June 30, 2014, 18 states have approved these rate
increases.

Life Insurance

Life insurance net operating income was $39 million, compared with $21 million
in the prior quarter and $27 million in the prior year. Mortality experience
improved versus the prior quarter. Results compared to the prior year benefitted
from slower reserve growth resulting from a correction to reserves and unlocking
of mortality and interest assumptions which were completed in the third quarter of
2013. In addition, investment spread and mortality improved modestly versus the
prior year.

Sales of $26 million increased versus the prior quarter and prior year. The
company is transitioning to a broader set of competitive permanent product
offerings, including indexed universal life and linked benefit products, and growth
in sales on these products is expected to continue through the remainder of 2014.
Linked benefit product deposits were $42 million in the quarter, up from $25
million in the prior quarter and in the prior year.




                           CLASS ACTION COMPLAINT
                                      11
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 13 of 27
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       Long Term Care Insurance

       Long term care insurance net operating income was $6 million, compared with
       $46 million in the prior quarter and $26 million in the prior year. Results
       benefitted from premium increases and reduced benefits of $3 million versus the
       prior quarter and $34 million versus the prior year related to the premium
       increases approved and implemented to date. Benefits and other changes in policy
       reserves increased $46 million after-tax versus the prior quarter and $47 million
       after-tax versus the prior year. Excluding the impact from the premium increases
       approved and implemented to date, benefits and other changes in policy reserves
       increased $45 million after-tax versus the prior quarter primarily from higher
       incurred losses resulting from higher severity on new and existing claims and
       increased $66 million after-tax versus the prior year primarily from higher
       severity and frequency on new and existing claims. As a result of recent
       experience, and in connection with its regular review of claims reserve
       assumptions for its long term care insurance products, the company is conducting
       a comprehensive review of the adequacy of its claim reserves. The company
       intends to complete this review before the release of financial results for the third
       quarter of 2014. The company continues to believe that the existing assumptions
       and methodology provide the most reliable best estimate. However, given the
       review underway, that will consider both long-term and recent experience, the
       company will likely change some of its assumptions, which could increase its
       long term care insurance claim reserves, and any increase may or may not be
       material.

       Individual LTC sales of $24 million were higher than the prior quarter and lower
       than the prior year. The company is continuing to invest in distribution and
       marketing to increase LTC sales over time and expects to begin seeing some
       impact from these actions during the second half of the year. The company
       launched its Privileged Choice Flex 3.0 product in July 2014 in 42 states which
       gives millions more Americans the flexibility to choose the right fit for their long
       term care needs, combined with the simplicity of prepackaged benefits.

(Footnotes omitted).

       24.     On this news, shares of Genworth declined $2.28 per share, over 14%, to close on

July 30, 2014 at $13.98 per share, on unusually heavy volume

                              CLASS ACTION ALLEGATIONS

       31.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all those who purchased

Genworth’s securities between December 4, 2013 and July 29, 2014, inclusive (the “Class


                                   CLASS ACTION COMPLAINT
                                              12
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 14 of 27
       


Period”) and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       32.     The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Genworth’s securities were actively traded on the

New York Stock Exchange (the “NYSE”).             While the exact number of Class members is

unknown to Plaintiff at this time and can only be ascertained through appropriate discovery,

Plaintiff believes that there are hundreds or thousands of members in the proposed Class.

Millions of Genworth shares were traded publicly during the Class Period on the NYSE. As of

July 24, 2014, Genworth had 496,616,897 shares of Class A common stock outstanding. Record

owners and other members of the Class may be identified from records maintained by Genworth

or its transfer agent and may be notified of the pendency of this action by mail, using the form of

notice similar to that customarily used in securities class actions.

       33.     Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       34.     Plaintiff will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

       35.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:




                                    CLASS ACTION COMPLAINT
                                               13
            Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 15 of 27
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                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of Genworth; and

                  (c)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

        36.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

                                UNDISCLOSED ADVERSE FACTS

        37.       The market for Genworth’s securities was open, well-developed and efficient at

all relevant times. As a result of these materially false and/or misleading statements, and/or

failures to disclose, Genworth’s securities traded at artificially inflated prices during the Class

Period. Plaintiff and other members of the Class purchased or otherwise acquired Genworth’s

securities relying upon the integrity of the market price of the Company’s securities and market

information relating to Genworth, and have been damaged thereby.

        38.       During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of Genworth’s securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements,



                                      CLASS ACTION COMPLAINT
                                                 14
             Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 16 of 27
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as set forth herein, not false and/or misleading. Said statements and omissions were materially

false and/or misleading in that they failed to disclose material adverse information and/or

misrepresented the truth about Genworth’s business, operations, and prospects as alleged herein.

         39.      At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or

misleading statements about Genworth’s financial well-being and prospects. These material

misstatements and/or omissions had the cause and effect of creating in the market an

unrealistically positive assessment of the Company and its financial well-being and prospects,

thus causing the Company’s securities to be overvalued and artificially inflated at all relevant

times.       Defendants’ materially false and/or misleading statements during the Class Period

resulted in Plaintiff and other members of the Class purchasing the Company’s securities at

artificially inflated prices, thus causing the damages complained of herein.

                                        LOSS CAUSATION

         40.      Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

         41.      During the Class Period, Plaintiff and the Class purchased Genworth’s securities

at artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.




                                      CLASS ACTION COMPLAINT
                                                 15
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 17 of 27
       


                                 SCIENTER ALLEGATIONS

       42.     As alleged herein, Defendants acted with scienter in that Defendants knew that

the public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Genworth, his/her control over, and/or

receipt and/or modification of Genworth’s allegedly materially misleading misstatements and/or

their associations with the Company which made them privy to confidential proprietary

information concerning Genworth, participated in the fraudulent scheme alleged herein.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE
                      (FRAUD-ON-THE-MARKET DOCTRINE)

       43.     The market for Genworth’s securities was open, well-developed and efficient at

all relevant times. As a result of the materially false and/or misleading statements and/or failures

to disclose, Genworth’s securities traded at artificially inflated prices during the Class Period.

On May 12, 2014, the Company’s stock closed at a Class Period high of $18.60 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s

securities relying upon the integrity of the market price of Genworth’s securities and market

information relating to Genworth, and have been damaged thereby.

       44.     During the Class Period, the artificial inflation of Genworth’s stock was caused

by the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or


                                   CLASS ACTION COMPLAINT
                                              16
             Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 18 of 27
         


misleading statements about Genworth’s business, prospects, and operations. These material

misstatements and/or omissions created an unrealistically positive assessment of Genworth and

its business, operations, and prospects, thus causing the price of the Company’s securities to be

artificially inflated at all relevant times, and when disclosed, negatively affected the value of the

Company stock. Defendants’ materially false and/or misleading statements during the Class

Period resulted in Plaintiff and other members of the Class purchasing the Company’s securities

at such artificially inflated prices, and each of them has been damaged as a result.

         45.     At all relevant times, the market for Genworth’s securities was an efficient market

for the following reasons, among others:

                 (a)    Genworth stock met the requirements for listing, and was listed and

actively traded on the NYSE, a highly efficient and automated market;

                 (b)    As a regulated issuer, Genworth filed periodic public reports with the SEC

and/or the NYSE;

                 (c)    Genworth regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases

on the national circuits of major newswire services and through other wide-ranging public

disclosures, such as communications with the financial press and other similar reporting services;

and/or

                 (d)    Genworth was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the sales force

and certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.




                                     CLASS ACTION COMPLAINT
                                                17
            Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 19 of 27
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        46.     As a result of the foregoing, the market for Genworth’s securities promptly

digested current information regarding Genworth from all publicly available sources and

reflected such information in Genworth’s stock price. Under these circumstances, all purchasers

of Genworth’s securities during the Class Period suffered similar injury through their purchase of

Genworth’s securities at artificially inflated prices and a presumption of reliance applies.

                                       NO SAFE HARBOR

        47.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that

could cause actual results to differ materially from those in the purportedly forward-looking

statements. In the alternative, to the extent that the statutory safe harbor is determined to apply to

any forward-looking statements pleaded herein, Defendants are liable for those false forward-

looking statements because at the time each of those forward-looking statements was made, the

speaker had actual knowledge that the forward-looking statement was materially false or

misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of Genworth who knew that the statement was false when made.

                                         FIRST CLAIM
                                   Violation of Section 10(b) of
                                The Exchange Act and Rule 10b-5
                          Promulgated Thereunder Against All Defendants

        48.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.


                                    CLASS ACTION COMPLAINT
                                               18
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 20 of 27
       


       49.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase Genworth’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, defendants, and each of them,

took the actions set forth herein.

       50.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for Genworth’s securities in violation of Section 10(b) of

the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

       51.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about Genworth’s

financial well-being and prospects, as specified herein.

       52.     These defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a

course of conduct as alleged herein in an effort to assure investors of Genworth’s value and

performance and continued substantial growth, which included the making of, or the

participation in the making of, untrue statements of material facts and/or omitting to state

material facts necessary in order to make the statements made about Genworth and its business



                                     CLASS ACTION COMPLAINT
                                                19
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 21 of 27
       


operations and future prospects in light of the circumstances under which they were made, not

misleading, as set forth more particularly herein, and engaged in transactions, practices and a

course of business which operated as a fraud and deceit upon the purchasers of the Company’s

securities during the Class Period.

       53.     Each of the Individual Defendants’ primary liability, and controlling person

liability, arises from the following facts: (i) the Individual Defendants were high-level executives

and/or directors at the Company during the Class Period and members of the Company’s

management team or had control thereof; (ii) each of these defendants, by virtue of their

responsibilities and activities as a senior officer and/or director of the Company, was privy to and

participated in the creation, development and reporting of the Company’s internal budgets, plans,

projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and

familiarity with the other defendants and was advised of, and had access to, other members of the

Company’s management team, internal reports and other data and information about the

Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

was aware of the Company’s dissemination of information to the investing public which they

knew and/or recklessly disregarded was materially false and misleading.

       54.     The defendants had actual knowledge of the misrepresentations and/or omissions

of material facts set forth herein, or acted with reckless disregard for the truth in that they failed

to ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing Genworth’s financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated

by Defendants’ overstatements and/or misstatements of the Company’s business, operations,



                                      CLASS ACTION COMPLAINT
                                                 20
           Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 22 of 27
       


financial well-being, and prospects throughout the Class Period, Defendants, if they did not have

actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to

obtain such knowledge by deliberately refraining from taking those steps necessary to discover

whether those statements were false or misleading.

       55.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

Genworth’s securities was artificially inflated during the Class Period. In ignorance of the fact

that market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of

the market in which the securities trades, and/or in the absence of material adverse information

that was known to or recklessly disregarded by Defendants, but not disclosed in public

statements by Defendants during the Class Period, Plaintiff and the other members of the Class

acquired Genworth’s securities during the Class Period at artificially high prices and were

damaged thereby.

       56.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that Genworth was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their Genworth securities,

or, if they had acquired such securities during the Class Period, they would not have done so at

the artificially inflated prices which they paid.

       57.     By virtue of the foregoing, Defendants have violated Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder.



                                     CLASS ACTION COMPLAINT
                                                21
            Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 23 of 27
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        58.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

the other members of the Class suffered damages in connection with their respective purchases

and sales of the Company’s securities during the Class Period.

                                     SECOND CLAIM
                                 Violation of Section 20(a) of
                      The Exchange Act Against the Individual Defendants

        59.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        60.     The Individual Defendants acted as controlling persons of Genworth within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions, and their ownership and contractual rights, participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, the Individual Defendants had

the power to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading. The Individual Defendants were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

        61.     In particular, each of these Defendants had direct and supervisory involvement in

the day-to-day operations of the Company and, therefore, is presumed to have had the power to

control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same.



                                   CLASS ACTION COMPLAINT
                                              22
Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 24 of 27
    Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 25 of 27
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                        CLASS ACTION COMPLAINT
                                   24
Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 26 of 27
Case 1:14-cv-06639-RJS Document 1 Filed 08/19/14 Page 27 of 27
